AO 245B (Rev. )   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                      Eastern District of North Carolina
                                                        )
              UNITED STATES OF AMERICA                  )    JUDGMENT IN A CRIMINAL CASE
                         v.                             )
                                                        )
                                                             Case Number: 7:17-CR-130-1FL
                                                        )
               MICHAEL CARL BUTLER                      )    USM Number: 64127-056
                                                        )
                                                        )     Suzanne Little
                                                        )    Defendant’s Attorney
THE DEFENDANT:
G
✔ pleaded guilty to count(s)          Count 1

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count

 18 U.S.C. §§2252(a)(2) and         Receipt of Child Pornography                                             2/23/2017                   1
 2252(b)(1)




       The defendant is sentenced as provided in pages 2 through                9        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G
✔ Count(s)     2 and 3                                   G is      G
                                                                   ✔ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          6/5/2018
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          Louise W. Flanagan, U.S. District Judge
                                                                         Name and Title of Judge


                                                                          6/5/2018
                                                                         Date




                            Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 1 of 9
AO 245B (Rev. ) Judgment in Criminal Case
                     Sheet 2   Imprisonment

                                                                                                        Judgment   Page      2       of       9
 DEFENDANT: MICHAEL CARL BUTLER
 CASE NUMBER: 7:17-CR-130-1FL

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  420 months




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
  The court recommends that the defendant receive intensive substance abuse treatment, vocational training, and educational opportunities. The court
  recommends defendant receive a mental health assessment and mental health treatment while incarcerated. The court recommends that defendant receive
  sex offender treatment.

      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                  G a.m.       G p.m.         on                                                 .

            G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before 2 p.m. on                                            .

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                        to

 aW                                                 , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL




                            Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 2 of 9
AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3   Supervised Release
                                                                                                       Judgment   Page   3    of        9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 15 years




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                SRVH D ORZ ULVN RI IXWXUH VXEVWDQFH DEXVH FKHFN LI DSSOLFDEOH
    G <RX PXVW PDNH UHVWLWXWLRQ LQ DFFRUGDQFH ZLWK  86&   DQG $ RU DQ\ RWKHU VWDWXWH DXWKRUL]LQJ D VHQWHQFH RI
            UHVWLWXWLRQ FKHFN LI DSSOLFDEOH
.    ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      G
.    ✔ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
      G
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKH ORFDWLRQ whHUH you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
.    G You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                             Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 3 of 9
AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3A Supervised Release
                                                                                               Judgment   Page       4        of         9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




                         Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 4 of 9
AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3B    Supervised Release
                                                                                                                Judgment   Page      5      of         9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL

                                     SPECIAL CONDITIONS OF SUPERVISED RELEASE
The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation officer, any other law
enforcement officer, of the defendant’s person and premises, including any vehicle, to determine compliance with the conditions of this judgment.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic addiction, drug dependency, or
alcohol dependency which will include urinalysis testing or other drug detection measures and may require residence or participation in a residential
treatment facility.

The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.), as directed by
the U.S. Probation Officer, the Bureau of Prisons, or any state or tribal government sex offender registration agency in a state where the defendant
resides, works, is a student, or was convicted of a qualifying crime.

The defendant shall submit to a psycho-sexual evaluation by a qualified mental health professional who is experienced in evaluating sexual offenders
and who is approved by the U.S. Probation Officer.

The defendant shall participate in a sex offender treatment program as directed by the U.S. Probation Officer, and the defendant shall comply with and
abide by all the rules, requirements, and conditions of the treatment program until discharged. The defendant shall take medication as prescribed by
the treatment provider.

At the direction of the U.S. Probation Officer, the defendant shall submit to physiological testing, which may include, but is not limited to, polygraph
examinations or other tests to monitor the defendant’s compliance with probation or supervised release and treatment conditions.

The defendant’s residence and employment shall be approved by the U.S. Probation Officer. Any proposed change in residence or employment must
be provided to the U.S. Probation Officer at least 10 days prior to the change and pre-approved before the change may take place.

The defendant shall not possess any materials depicting and/or describing “child pornography” and/or “simulated child pornography” as defined in 18
U.S.C. § 2256, nor shall the defendant enter any location where such materials can be accessed obtained or viewed.

The defendant shall not associate or have verbal, written, telephonic, or electronic communications with any person under the age of eighteen (18),
except: (1) in the presence of the parent or legal guardian of said minor; (2) on the condition that the defendant notifies the parent or legal guardian of
the defendant’s conviction or prior history; and (3) with specific, written approval from the U.S. Probation Officer. This provision does not
encompass persons under the age of eighteen with whom the defendant must deal in order to obtain ordinary and usual commercial services (e.g.,
waiters, cashiers, ticket vendors, etc.).

The defendant shall not loiter within 1,000 feet of any area where minors frequently congregate (e.g., parks, school property, playgrounds, arcades,
amusement parks, day-care centers, swimming pools, community recreation fields, zoos, youth centers, video arcades, carnivals, and circuses) without
prior written permission from the U.S. Probation Officer.

The defendant shall not use, purchase, possess, procure, or otherwise obtain any computer or electronic device that can be linked to any computer
networks, bulletin boards, internet, internet service providers, or exchange formats involving computers unless approved by the U.S. Probation
Officer.

To ensure compliance with supervision, the defendant shall submit to unannounced searches of any computer or computer equipment (including
mobile phones) which, in the discretion of the U.S. Probation Officer, may include the use of computer monitoring technology, computer search or
analysis software, and copying of all data from the device and external peripherals. Such examination may require the removal of devices from your
possession for the purpose of conducting a thorough inspection.

At the direction of the U.S. Probation Officer, the defendant shall consent to the installation of systems or software that will allow the probation
officer or designee to monitor computer use on any computer that the defendant owns or is authorized to use. The defendant shall pay the cost of this
monitoring.

                          Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 5 of 9
AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3C    Supervised Release
                                                                                                               Judgment   Page   6   of   9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.
The defendant shall provide the probation office with access to any requested financial information.




                          Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 6 of 9
AO 245B(Rev. ) Judgment in a Criminal Case
                    Sheet 3D    Supervised Release
                                                                                                              Judgment    Page     7      of         9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL

                                        ADDITIONAL SPECIAL CONDITIONS OF SUPERVISION
The defendant shall not use, possess, or control any computer-based counter forensic tools. The defendant shall not use or have installed any
programs specifically and solely designed to encrypt data, files, folders, or volumes of any media. The defendant shall, upon request, immediately
provide the U.S. Probation Officer with any and all passwords required to access data compressed or encrypted for storage by any software.

The defendant shall not be employed in any position or participate as a volunteer in any activity that involves direct or indirect contact with children
under the age of eighteen (18) without written permission from the U.S. Probation Officer. Under no circumstances may the defendant be engaged in
a position that involves being in a position of trust or authority over any person under the age of eighteen.




                         Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 7 of 9
AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 5   Criminal Monetary Penalties
                                                                                                         Judgment   Page       8     of        9
 DEFENDANT: MICHAEL CARL BUTLER
 CASE NUMBER: 7:17-CR-130-1FL
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                  JVTA Assessment*                 Fine                       Restitution
 TOTALS            $ 100.00                     $ 0.00                             $ 0.00                    $ 0.00


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                      Total Loss**               Restitution Ordered            Priority or Percentage




 TOTALS                               $                         0.00           $                         0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine      G restitution.
       G the interest requirement for the          G fine       G      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                            Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 8 of 9
$2 % 5HY  -XGJPHQW LQ D &ULPLQDO &DVH
                     Sheet 6   Schedule of Payments

                                                                                                              Judgment    Page     9      of           9
DEFENDANT: MICHAEL CARL BUTLER
CASE NUMBER: 7:17-CR-130-1FL

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     G Lump sum payment of $                                  due immediately, balance due

           G     not later than                                    , or
           G     in accordance with    G    C,    G    D,     G     E, or      G F below; or
B     G Payment to begin immediately (may be combined with                  G C,         G D, or      G F below); or
C     G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G
      ✔ Special instructions regarding the payment of criminal monetary penalties:

            The special assessment in the amount of $100.00 is due in full immediately.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.


                          Case 7:17-cr-00130-FL Document 38 Filed 06/05/18 Page 9 of 9
